Case 1:18-cv-00533-JTN-ESC ECF No. 2 filed 05/14/18 PageID.159 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


SCOTTSDALE CAPITAL ADVISORS
CORP.,

          Plaintiff,                        Case No. 1:18−cv−00533−JTN−ESC

   v.                                       Hon. Janet T. Neff

MORNINGLIGHTMOUNTAIN, LLC, et al.,

          Defendants.
                                       /

                  NOTICE REGARDING ASSIGNMENT OF CASE
                        AND NOTICE OF DEFICIENCY
      NOTICE is hereby given that the above−captioned case was removed
from Kalamazoo County Circuit Court, and electronically filed in this court on
May 11, 2018 . The case has been assigned to Janet T. Neff .
      The filing party has failed to submit a corporate disclosure statement
as required by FRCP 7.1. Counsel is required to file this form, even if there is
no corporate affiliation to disclose, for every corporate party. A form for this
purpose is available on the court website at www.miwd.uscourts.gov.



                                       CLERK OF COURT

Dated: May 14, 2018              By:    /s/ E. Siskind
                                       Deputy Clerk
